Case 1:20-cv-07311-LAK

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ww ee eee eee x : . o
Plaintiff ee
-against- 20-cv-7311 (LAK)
DONALD J. TRUMP,
Defendant.
ae ee ee ee ee ee ee eee he ee x
E, JEAN CARROLL,
Plaintiff,
-against- 22-cv-10016 (LAK)
DONALD J. TRUMP,
Defendant.
sees es ee eee ee eae ee Re eee ee eee ee x
ORDER
Lewis A. KAPLAN, District Judge.
1, The letter motion to consolidate these cases for trial, filed in the first captioned case

Document 148

Filed 03/20/23 Page 1 of 1

may ayn 7 SPT

 

 

CCUM ee
ELECTRON
Oe:

 

 

as Dkt 147,18 denied. The parties overestimate both the judicial economy benefits that would be achieved and
the risk of inconsistent rulings that would be eliminated by consolidation. Issue preclusion appears to the Court
adequate to achieve appropriate conservation of judicial resources and avoidance of inconsistent rulings even
if the two cases were tried separately. Moreover, a trial in 20-cv-73 11 conceivably could prove unnecessary.
In addition, approval of the consolidation proposal would be in tension with the deference to the Second Circuit
and the District of Columbia Court of Appeals that this Court believes appropriate in the circumstances.

2. The trial of 20-cv-73 11, previously scheduled tentatively to begin on April 10, 2023,

L Male

is adjourned sine die.
SG ORDERED
Dated: March 20, 2023

Lewis A. Kaplat

United States District Judge
